                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


MARTIN ARNOLD RILEY, #52926                          )
                                                     )
               Plaintiff,                            )
                                                     )
v.                                                   )      Case. No. 22-3185-JWL-JPO
                                                     )
FNU SKIDMORE, et al.,                                )
                                                     )
               Defendants.                           )
                                                     )

                   WAIVER OF SERVICE OF SUMMONS EXECUTED

                                       KDOC Defendants

       Pursuant to Rule 4(d) of the Federal Rules of Civil Procedure, the Kansas Department of

Corrections (“KDOC”) agrees on behalf of the defendants listed below (the “KDOC Defendants”)

to waive service of process and complaint in this matter:

Ricky Brown                                          Madison Potter
Printed name of party who waives service             Printed name of party who waives service

Hans Rasmussen                                       Eric Hopkins
Printed name of party who waives service             Printed name of party who waives service

Daniel East
Printed name of party who waives service             Printed name of party who waives service

                                    Non-KDOC Defendants

       The defendants listed below are not believed to be current or former KDOC employees

and will not be represented by the Kansas Attorney General (“AG”):



Name of party not represented by AG                  Name of party not represented by AG



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Name of party not represented by AG                  Name of party not represented by AG

                                      Concluding Remarks

       Pursuant to the Prison Litigation Reform Act and the Memorandum of Understanding for

the Pilot Program for E-Service, the Martinez Report shall be due sixty (60) days from the date of

this waiver and upon the filing of that report, the Court will screen Plaintiff's Complaint and will

enter an order setting an answer deadline if the Complaint survives screening.

10/7/2022                                            s/Dennis D. Depew
Date                                                 Signature of Deputy Attorney General




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